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1
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7                        UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9
      JOSEPH MENICHIELLO                       ) Case No. 8:17−cv−02040−JVS−KES
10    individually and on behalf of all others )
      similarly situated,                      ) NOTICE OF DISMISSAL OF
11
                                               ) ACTION WITH PREJUDICE AS
12    Plaintiff,                               ) TO THE NAMED PLAINTIFF AND
13
                                               ) WITHOUT PREJUDICE AS TO
             vs.                               ) THE PUTATIVE CLASS
14                                             )
15    CAPFUSION, LLC; RYAN                     )
      SULLIVAN.; AND DOES 1-20,                )
16
      INCLUSIVE,                               )
17                                             )
18
      Defendants.

19          NOW COMES THE PLAINTIFF by and through her attorneys to
20
      respectfully move this Honorable Court to dismiss this matter with prejudice as to
21
      the named Plaintiff, and without prejudice as to the Putative Class alleged in the
22
      complaint pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). No Defendant has filed
23
      either an answer or a motion for summary judgment at this time, and no Court
24
      order is necessary pursuant to the Fed. R. Civ. P.
25
            Respectfully submitted this 12th Day of March, 2018,
26

27
                                              By: s/Todd M. Friedman, Esq.
                                                TODD M. FRIEDMAN
28                                              Attorney for Plaintiff



                                        Notice of Dismissal - 1
     Case 8:17-cv-02040-JVS-KES Document 14 Filed 03/12/18 Page 2 of 2 Page ID #:55




1     Filed electronically on this 12th Day of March, 2018, with:
2
      United States District Court CM/ECF system
3

4     Notification sent electronically via the Court’s ECF system to:
5
      Honorable R. James V. Selna
6     United States District Court
7
      Central District of California

8
      This 12th Day of March, 2018.
9

10    s/Todd M. Friedman, Esq.
      TODD M. FRIEDMAN
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                                       Notice of Dismissal - 2
